‘JENSEN, JULIE

PRIVATE CASE FOR
KENOSHA COUNTY - AUTOPSY REPORT

JENSEN, JULIE FEB 19 2008

41 Year Old White Female
DOD: 12/03/98; 5:15 p.m. Cease MENTING
Date of Autopsy: 12/04/98; 2:25 p.m. iT
Performed at: St. Catherine’s Hospital, Kenosha, Wisconsin
Performed by: Michael J. Chambliss, M.D.
Permission for Autopsy: Roger Johnson, Chief Deputy Medical Examiner for Kenosha County
Present for Autopsy:

Roger Johnson, Chief Deputy Medical Examiner, Kenosha, County

Chris Hernandez, Pathology Assistant

Barbara Rosmann, Deputy Medical Examiner, Kenosha County

Sergeant Paul Ratzburg, Pleasant Prairie Police Department

Photographs are taken by Sergeant Ratzburg of the Pleasant Prairie Police Department for
identification purposes plus documentation of pathology and evidence of injury.

PERSONAL EFFECTS:

The body is received on the transport cart in the morgue area of St. Catherine’s Hospital
unembalmed and partially clothed. The clothing items include a watermelon colored short-sleeve
cotton T-shirt, a pair of white panties and a pair of white socks. A yellow metal wedding ring with
a single large clear stone is present on the fourth finger of the left hand. An additional yellow
metal ring with four clear stones is present on the fourth finger of the right hand. Two small
yellow metal pendants from a necklace are present beneath the body. No additional clothing items
or personal effects accompany the body.

EXTERNAL EXAMINATION:
The body shows good preservation.

The body shows signs of attempted medical attention which will be described later. A few minor
blunt trauma injuries are also identified.

The subject is a slender, well-developed adult white female, with an estimated body weight of

approximately 110 pounds, measuring 65 inches in length with an appearance consistent with the

recorded age of 41 years. Well-developed rigor is present equally in the arms, legs, and neck

region. At the time the body was discovered, there was little or no rigor present in the arms, legs

and neck and the body was still slightly warm. Postmortem lividity at the time of autopsy is

identified in the back surface of the body except in the areas of pressure. The lividity still blanches
slightly.

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The head contour is normal and the scalp is covered by blond wavy hair of medium length with
identifiable gray strands. The eyes are slightly open with hazel blue irides, clear corneas and
symmetrically equal round 4 mm pupils with slight drying artifact of the sclerae; right side greater
than left. The outer and inner surfaces of the eyelids are free of petechiae. No scleral hemorrhages
are seen. The ears are normal set and the external canals are patent. The nose is midline and the
cartilages are intact. The lips are slightly dry and the mouth contains natural teeth in the upper and
lower jaw in good repair. The inside of the lips and cheeks show no injuries. A superficial slightly
curved yellow perimortem abrasion resembling a fingernail is present on the right anterior neck in
the area of the thyroid cartilage of the larynx. It measures approximately 1 cm in length. The rest
of the neck externally shows no signs of injury.

The chest area is symmetrical with signs of attempted medical attention which will be described
later. The breasts are symmetrical and slightly small. No masses are noted. No surgical scars are
seen. There is no evidence of trauma.

The abdomen is soft, scaphoid and depressible in all quadrants. No signs of attempted medical
therapy are noted. No surgical scars are seen. There is no evidence of trauma.

_All fingers are present on the hands and the nails are short and clean with cyanosis of the nail
beds. The arms are symmetrical with normal muscle development and no signs of recent injury.
No surgical scars are noted.

The external genitalia is that of a normal female.

All toes are present and the nails are short and clean. There is a superficial blue bruise
approximately 3-4 mm in greatest dimensions on the front of the right shin. The legs are otherwise
free of injuries. They show normal muscle development. No surgical scars are noted.

There are two bruises over the right buttock which will be described later. The back surface of the
body otherwise shows slightly unfixed lividity and no signs of injuries. No surgical scars are
noted.

EXTERNAL EVIDENCE OF INJURY:

1. There is an 8 x 2 cm horizontally directed bruise over the middle portion of the right
buttock. It contains a superficial abrasion measuring 1.4 x 0.2 cm.

2. There is a 4 x 2 cm bruise over the upper portion of the right buttock near the hip.

3. There is a superficial bruise over the front of the right shin a short distance below the
knee. It measures approximately 3-4 cm in greatest dimensions.

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4. There is a superficial curved abrasion over the right side of the front of the neck in the
area of the thyroid cartilage of the larynx. It has a yellow-brown appearance and measures
approximately 1 cm in greatest dimensions.

INTERNAL EVIDENCE OF INJURY:

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EVIDENCE OF MEDICAL ATTENTION:

l. EKG monitor pads are present over both sides of the upper chest beneath the clavicles and
on the right lower anterior chest wall.

INTERNAL EXAMINATION

The usual Y-shaped thoracoabdominal incision is made across the upper chest and along the
midline of the chest and abdominal wall. Upon reflecting the skin and underlying soft tissues, there
is a small amount of hemorrhage involving the soft tissues and muscles attached to the left second,
third, and fourth ribs anteriorly. The ribs are intact and show no fractures. The rest of the anterior
and lateral chest wall shows no signs of injury.

BODY CAVITIES: The anterior chest plate is removed to allow access to both thoracic cavities.
Both thoracic cavities are free of fluid. There are numerous petechiae over the outer surface of
the lower lobe of the left lung, the left side of the pericardial sac, the front and back of the heart
and the top of the right leaflet of the diaphragm. The stomach is markedly dilated and extends into
the lower pelvis down to the level of the iliac arteries. Both lungs are well expanded. The heart is
normally situated. No internal injuries are noted. All remaining organs are present in their normal
anatomic positions and assume their usual relationships.

NECK ORGANS: Layerwise dissection of both the small and large strap muscles show no signs
of injury. The mucosa of the epiglottis shows very mild congestion. The mucosa of the larynx is
normal. The cartilages of the larynx are normal. The hyoid bone is intact. The tongue shows no
evidence of bite marks. The thyroid gland is normal size with the usual dark blue color externally
and dark red-brown parenchyma on cut surfaces. The prevertebral fascia is normal. The cervical
spine is intact.

RESPIRATORY SYSTEM: The right and left lungs weigh 330 and 320 grams respectively. The
lungs externally show no significant anthracosis over the dark pink, light red pleural surfaces.
Both lungs are well expanded. The tracheobronchial tree is free of obstruction and the mucosa is
coated by a small amount of bloody fluid. The pulmonary arteries are anatomically normal and

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free of antemortem clots. The main bronchi to both lungs are also free of obstruction and show a
small amount of bloody fluid. No aspirated food material is seen. Sections of both lungs show
very congested dark red well preserved parenchyma.

CARDIOVASCULAR SYSTEM: The heart is normal size weighing 210 grams. Multiple
petechiae are present over the left side and front of the pericardial sac as previously described. On
opening the pericardial sac, the usual amount of straw colored fluid is seen with numerous
epicardial petechiae present over the front and back of the heart. The heart has a slightly flabby
consistency. The coronary arterial system is right sided dominant with normal origins and vascular
distribution. Sections of the right coronary artery show a normal size vessel with a widely patent
lumen without significant atherosclerosis or thrombosis. Sections of the left main coronary artery
show a normal size vessel without significant atherosclerosis or thrombosis. Sections of the left
anterior descending and left circumflex branches show similar lack of atherosclerosis or
thrombosis. The heart is opened along the normal blood flow pathway beginning with the right
atrium and right ventricle. The interatrial septum is intact and unremarkable. The tricuspid and
pulmonic valve leaflets are normal. The endocardium of the right ventricle has the usual red-
brown appearance. The right ventricular wall is within normal limits for thickness. The mitral and
aortic valve leaflets are normal. Both the endocardium and myocardium of the left ventricle are
congested red-brown. No areas of hemorrhage are noted. Both the thoracic and abdominal
segments of the aorta are free of significant atherosclerosis.

HEPATOBILIARY SYSTEM: The liver is normal size weighing 1250 grams. The capsule is
yellow-light brown in color, smooth with sharp edges. Sections of both lobes show similar yellow-
light brown markedly congested parenchyma. The gallbladder and biliary tract are anatomically
normal with the gallbladder distended with approximately 30 cc of green-black bile.

HEMOLYMPHATIC SYSTEM: The spleen is slightly small weighing 80 grams. The capsule is
blue-gray in color, smooth with soft, congested mulberry colored parenchyma on cut surfaces. No
areas of lymphadenopathy are noted.

GASTROINTESTINAL SYSTEM: There is hemorrhage of the mucosa of the hypopharyngeal
muscles on the upper back of the thyroid cartilage of the larynx near the aryepiglottic folds. The
serosa and mucosa of the esophagus are normal. The stomach is markedly distended with greater
than 660 ml of dark green liquid containing only a very few small white and green food fragments
(potato and pepper). There is marbling of the serosa of the stomach. The gastric mucosa shows
no residue. No ulcers or erosions are seen. Both the small and large intestines are normal caliber
with normal serosal surfaces. The appendix is identified and is normal.

GENITOURINARY SYSTEM: The right and left kidneys weigh 100 and 120 grams respectively.
Normal perinephric fat and capsules are noted over each kidney. The capsules strip with slight
difficulty revealing very congested, smooth red-brown external cortical surfaces. Sections of each

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kidney show very congested cortical and medullary layers. Normal pelvocalyceal systems and
ureters are present. The urinary bladder is distended with approximately 150 cc of urine. A small
amount of white residue is present over the bladder mucosa which is otherwise normal.

The uterus, bilateral fallopian tubes and ovaries together weigh 110 grams. The serosa of the
uterus is normal. The ovaries both contain small clear cysts and are otherwise normal on cut
surfaces. The endometrium has a light tan color with a small amount of mucous material. The
uterine muscle is free of soft tissue tumors.

ENDOCRINE SYSTEM: The pancreas is normal size with the usual light tan color and lobulated
appearance on both the external and cut surfaces. Both adrenal glands show normal cortical and
medullary layers. The thyroid gland has been previously described. The pituitary gland is not
examined.

MUSCULOSKELETAL SYSTEM: The arms and legs are symmetrical with normal muscle
development and no signs of injury. There is a small amount of soft tissue hemorrhage adjacent to
the ribs on the left upper anterior chest wall as previously described. No rib fractures are noted.
The rest of the chest wall is unremarkable. The vertebral spine is intact. The body shows a few
bruises over the right buttock and front of the right shin as previously described.

CENTRAL NERVOUS SYSTEM: The scalp is free of external trauma. Upon reflecting the
scalp, no signs of injury are noted on the undersurface of the scalp or outer surface of the skull.
The temporalis muscles are normal. The skull is intact. Upon entering the cranial cavity, no
subdural or epidural blood is noted. There is prominent congestion of the large and small blood
vessels of the leptomeninges over the convexities of both cerebral hemispheres. There is moderate
edema of the top of both cerebral hemispheres. There is slight prominence of the tonsils on the
bottom of the cerebellum. The brain stem and cerebellum are normal size. The brain weighs 1210
grams. The top and bottom surfaces show no signs of injury. The vessels on the base of the brain
are normal. The cranial nerves are normal. Serial coronal sections through the cerebrum,
cerebellum, and brain stem show moderate edema of the gray and white matter without
pathologic lesions. The inside of the skull shows no fractures. The dural leaflets are normal.

MATERIALS SAVED FOR PATHOLOGY:

Representative tissue sections of the internal organs are taken and saved. C O PY
MATERIALS SAVED FOR TOXICOLOGY:

Blood from the right atrium of the heart, blood from the right femoral artery, urine, samples of

adipose tissue from the subcutaneous region of the abdominal wall, skeletal muscle from the left
anterior chest overlying the ribs, a sample of liver and a sample of brain tissue.

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ANATOMIC DIAGNOSIS:

1.

Multiple petechiae over the front and back of the heart and pericardial sac, the top of the
right leaflet of the diaphragm, and the pleural surface of the lower lobe of the left lung.

2. Pulmonary congestion (650 grams).

3. Fatty liver (1250 grams).

td Normal size heart (210 grams) with normal coronary arteries.

5. Very dilated stomach containing greater than 660 ml of green liquid.

6. Two bruises over right buttock (8 x 2 cm and 4 x 2 cm).

a. Superficial bruise over front of right shin.

8. Superficial yellow slightly curved abrasion (1 cm in greatest dimensions) over the right
side of the front of the neck.

CAUSE OF DEATH:

Pending further studies.

MICHAEL J. CHAMBLISS, M.S.
Forensic Pathologist

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